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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                 CASE NO.: 1:21-cv-23709-MGC

     WILSON VILLA,
     and other similarly situated individuals,

          Plaintiff(s),
     v.

     TURCIOS GROUP CORP,
     and HENRY TURCIOS, individually

        Defendants,
  _______________________________/

                                      NOTICE OF MEDIATION

          Plaintiff, WILSON VILLA by and through undersigned counsel, hereby notifies the Court,

     that Plaintiff and Defendants have agreed to use for this action: Dan Feld, Esq, and the

     mediation will take place on February 24, 2022 at 10:00 a.m via Zoom Video Conference. A

     proposed Order Scheduling Mediation is provided herewith for the convenience of this Court.

  Dated: December 21, 2021

                                                            Respectfully submitted,

                                                            ZANDRO E. PALMA, P.A.
                                                            Attorney for Plaintiff
                                                            9100 S. Dadeland Blvd,
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                                                            BY: _/s/ Zandro E. Palma__
                                                            Zandro E. Palma Esq.
                                                            Florida Bar No.: 0024031
Case 1:21-cv-23709-MGC Document 15 Entered on FLSD Docket 12/21/2021 Page 2 of 4




                                   CERTIFICATE OF SERVICE

          I hereby certify that on December 21, 2021, I electronically filed the foregoing document
  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
  served this day on all counsel of record or pro se parties identified on the attached Service List in
  the manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
  or in some other authorized manner for those counsel or parties who are not authorized to receive
  electronically Notices of Electronic Filing.

  Dated: December 21, 2021


                                                        Respectfully submitted,

                                                        _/s/ Zandro E. Palma_
                                                        ZANDRO E. PALMA, ESQ.
                                                        Florida Bar No.: 0024031
                                                        zep@thepalmalawgroup.com
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                                                        Attorney for Plaintiff
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                                CERTIFICATE OF SERVICE
                                   1:21-cv-23709-MGC

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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                 CASE NO.: 1:21-cv-23709-MGC

     WILSON VILLA,
     and other similarly situated individuals,

          Plaintiff(s),
     v.

     TURCIOS GROUP CORP,
     and HENRY TURCIOS, individually

        Defendants,
  ___________________________________/

                               ORDER SCHEDULING MEDIATION

                  The Mediation in this matter will be held with Mediator Dan Feld.Esq., and the

          mediation will take place February 24, 2022 at 10:00 a.m via Zoom Video Conference.

                  DONE AND ORDERED in Chambers at Miami, Florida, this ____ day of

          ___________________, 2021.



                                                 ______________________________________
                                                 JUDGE MARCIA G. COOKE


  Copies provided to: All counsel of Record
